Case 1:08-cv-00090-LG-RHW Document 211-10 Filed 12/14/09 Pagelof7

Exhibit G
Case 1:08-cv-00090-LG-RHW Document 211-10 Filed 12/14/09 Page2of7

Pagel |:

1 IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
2 SOUTHERN DIVISION

4 GARY BRICE McBAY,
Plaintiff,

LS MRA BAESC ESE SOPIG NOK ONPG RU wR MOREE RP

NASR ERIE EDS HEE TS TEE RE

6 VERSUS CIVIL ACTION NO: 1:07cv1205LG-RHW

HARRISON COUNTY, MISSISSIPPI,
8 by and through its Board of
Supervisors; HARRISON COUNTY
9 SHERIFF, George Payne, in his
official capacity; CORRECTIONS
10 OFFICER MORGAN THOMPSON,
acting under color of state law,
11 Defendants.

30(b) (6) DEPOSITION OF HARRISON
14 COUNTY SHERIFF'S DEPARTMENT,
GEORGE H. PAYNE, JR., DESIGNER

DHE SU Wo TE DT ON FAR RO

16 Taken at the offices of Dukes, Dukes,
Keating & Faneca, P.A., 2909 13th

17 Street, Sixth Floor, Gulfport,
Mississippi, on Thursday, October 1,

18 2009, beginning at 9:05 a.m.

SENET OTE LHe EE EN EAA

20 APPEARANCES:
21 PATRICK R. BUCHANAN, ESQUIRE
MARK V. WATTS, ESQUIRE :
22 Brown Buchanan, P.A.
796 Vieux Marche' Mall, Suite l
23 Biloxi, Mississippi 39530
ATTORNEYS FOR PLAINTIFF

"ELE RISE HENGE PE OO OI ON SE SE LORE TIMER NRO a ESERIES SDE EE ERS SEC ESC AKER SSCA HM ELE EASE ERS TRA EEE ORBEA OR ED ENE LR OEE ASE REL R ERAT ITER AEE DEDEDE LEB TEA SESSLER DEE EE ARM ERED ERE REE EELS

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: Imigues@sbmreporting.com
Case 1:08-cv-00090-LG-RHW Document 211-10 Filed 12/14/09 Page 3of7

oOo JF nD oO FF W DN FF

Q. And who would have been the person that
did that investigation?

A. It would have either been Major Riley or
Steve Campbell with our professional standards
unit to see if there's any validity to it, to see
if the people were still working there, did we
have complaints, was it something we knew about or
didn't know about, things of that nature.

Q. Do you know whether or not Riley or
Campbell investigated this?

A. T'm sure they did.

Q. Do you know what the findings were?

A. I don't remember.

Q. Do you know whether or not they would
have generated a written report relative to their
investigation of these concerns?

A. If they were founded, yes.

Q. Well, that may -- that probably leads to

a better question I should have asked you. Are

you disputing the findings of the report, Exhibit
2?

A. I'm not disputing the fact that some
people probably told Steve Martin some of these
things.

Q. All right. Mr. Martin says, These four

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: Imigues@sbmreporting.com

Page 24

A ELTAC RE cP ETS To ETRE SR EL ET RR TEENS STOR A RTO TSO OS SOT EN TSE SRT REO RE ESTO Eo UE RIB SES SRLS RTE TR AT SLE EEE SORTA AE ETRE TTR ESTER ERD CLOT EEE REEL LEAL ETERS

STREET OREN
Case 1:08-cv-00090-LG-RHW Document 211-10 Filed 12/14/09 Page4of7

oOo aT DW TO Be WH NYO FH

received from them, if there was something that

needed to be looked into it, I assigned it to
either Major Riley or the professional standards
unit to look into to check on the validity of the
report and see if something needed to be done
about it.

Q. As we sit here today, can you tell me if
you remember doing anything to respond to the
concerns raised by Mr. Martin in this report,
Exhibit 2?

A. I just told you that.

Q. Well, you've told me what you -- the
general occurrence.

A. Every time. I just didn't ignore them.
Something was done.

Q. And I'm not trying to imply that. What
I'm trying to find out is -- obviously, there's
some disturbing language here in Exhibit 2, this
report; would you agree with that?

A. Yeah.

Q. All right. What I'm, then, trying to
find out is -- you say you responded, and I'm
asking you, based on your best memory, if you
remember what exactly you did in response?

A. Not only did we respond in-house, I

ANS ERE A

SS ESSE AN RE

Sa SR

RE Ea ONE RCT REE EEE

Ti ESE ES REE AORTA HE RU DAES BE SCL EE SE LSE NESE AN AED SEA HSE ERE CINE ER EL EER TESOL ATER TACO ADE DASE EEE LE SELES SLED GTS SELES BAER RROD RE RACE ST

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: Imigues@sbmreporting.com
Case 1:08-cv-00090-LG-RHW Document 211-10 Filed 12/14/09 Page 5 of 7

Oo wa wn Oo F W NY FF

would report back to Steve over the telephone. He

and I talked once or twice a month.

Q. Do you remember if all four or any four
of these officers that are referenced in this
report were disciplined in any way?

A. I don't have any recollection of that.
We had a lot of disciplinary actions going on, a
lot of hearings, a lot of people coming and going.

Q. Do you know what, if anything, the board
of supervisors did in response to this report,
Exhibit 2?

A. I have no idea.

Q. Can I get that back from you? And we'll
put it here.

And you've referenced him. Steve
Campbell, Captain Campbell was the head of your
Professional Standards Department?

A. Correct.

And he's no longer with the jail?
No.
When did he leave?
The same time I did.

And did he retire?

oOo Fr CO Y DO.

A. T don't know if he did or didn't. He's

retired from the Mississippi Bureau of Narcotics.

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: Imigues@sbmreporting.com

Page 27 |:

EAP cE UALR PE

SA ENSUE TE TE
Case 1:08-cv-00090-LG-RHW Document 211-10 Filed 12/14/09 Page6éof7

Page 51
1 Q. And what did he tell you was.
2 specifically addressed in it?
3 A. I don't remember. Like I said,
4 Mr. Martin and I talked probably twice a month.
5 Q. All right. Back to my original
6 question, then: These pleas, how did you miss
7 what was going on in booking?
8 A. IT probably depended too much on the FBI
9 and justice and finding out what was going on and
10 not reporting it.
11 Q. Do you believe that this is a -- this
12 problem in these plea exhibits is a problem you
13 should have known about?
14 A. Yeah. I don't know if it was possible
15 for me to know about it, but I wish I'd have known
16 about it.
17 Q. Why wouldn't it be possible for you to
18 know about it?
19 A. Well, I mean, if it was concealed -- and
20 it appears they concealed it, concealed it from
21 everybody, not only concealed it to me, but
22 concealed it from the FBI and the justice
23 department and the National Institute of
24 Corrections, which I had in that place probably a
25 half a dozen times.

E-mail: imigues@sbmreporting.com
Case 1:08-cv-00090-LG-RHW Document 211-10 Filed 12/14/09 Page/7of7

Page 114

A. I don't know anybody that had any
knowledge.
MS. YOUNG:

Q. You stated for the record that you
thought that the board of supervisors received the
guarterly reports; but do you have any personal

knowledge whether they received these reports?

Oo wa WD oO FPF W NO FF

A. No, if Mr. Meadows didn't deliver it to
9 them. His name was on the letterhead.

10 Q. Okay. But you, yourself, never gave

il them these reports?

12 A. No.

13 Q. And do you have any recollection of ever
14 speaking with any board of supervisor about Steve |
15 Martin's report?

16 A. William Martin.

17 Q. About Steve Martin's report.

18 A. William Martin.

19 Q. And what did you discuss with William

20 Martin?

21 A. I can't remember. He was -- you know,
22 during some of our meetings, our board meetings

23 and things of that nature.

24 Q. And when you say the board meetings, are

25 you talking about that committee --

Se ee a eT Te RN HNN SS NS DD DE TE AN OD ER HO TO oT ER TT EE TS RT NT ET OT TA RR

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: Imigues@sbmreporting.com
